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                             UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE



JOSEPH A. DENBOW et al.,                      )
                                              )
               Petitioners                    )
                                              )
               v.                             )       Case No. 1:20-cv-00175-JAW
                                              )
MAINE DEPARTMENT                              )
OF CORRECTIONS et al.,                        )
                                              )
               Respondents                    )


   AFFIDAVIT OF DR. JOHN NEWBY, D.P.M., IN OPPOSITION TO MOTION FOR
                    TEMPORARY RESTRAINING ORDER

       I, John Newby, D.P.M., declare as follows:

       1.      I am over the age of 18 years and not myself a party to this action. I understand and

believe in the obligations of an oath.

       2.      I have personal knowledge of the facts stated in this affidavit and if called upon to

testify, I would testify to those facts. In preparing this affidavit, I have also reviewed records

regularly kept by Wellpath that are available to me and that I rely on in my official duties.

       3.      I am the Regional Vice President for Wellpath, a company contracted by the Maine

Department of Corrections to provide medical care to inmates incarcerated in state correctional

facilities, including the Mountain View Correctional Facility.

       4.      I have served as the Regional Vice President for Wellpath since 2012, and before

that time I served in various other roles within Wellpath (formerly known as Correct Care

Solutions) in Memphis, TN. I studied at Ohio College of Podiatric Medicine in Cleveland, Ohio,




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where I obtained Doctorate of Podiatric Medicine. I have worked in correctional medical facilities

in leadership and professional oversight management since 2002.

        5.      Wellpath medical providers work in the state’s correctional facilities to provide

healthcare services to inmates in the custody of the Maine Department of Corrections (“MDOC”).

Because the healthcare setting refers to these individuals as patients, I use that term throughout

this affidavit to refer to inmates in MDOC’s custody.

Operational Preparedness:

        6.      For several months now, Wellpath has been working in conjunction with MDOC

and the Maine Center for Disease Control and Prevention (“Maine CDC”) to prepare for and

respond to COVID-19, a global pandemic caused by the novel coronavirus SARS-CoV-2.

        7.      Before the onset or first positive case of COVID-19 in the State of Maine, Wellpath

and MDOC have worked together to develop an aggressive and targeted response to COVID-19,

in an effort to mitigate the effects of the virus and reduce the risk of its transmission inside the

state’s correctional facilities.

        8.      This response planning has been guided by recommendations from the Maine CDC

and the U.S. Centers for Disease Control and Prevention (“U.S. CDC”), including the U.S. CDC’s

Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in Correctional and

Detention Facilities. Our coordinated response continues to be revised and updated as additional

information is learned about COVID-19 and new guidance is provided.

        9.      A multi-disciplinary pandemic preparedness committee (“PPC”) has been formed

to address pandemic COVID-19 preparedness specifically, which includes Wellpath’s President,

Chief Clinical Officer, Chief Compliance Officer, Chief Human Resource Officer, and Associate

Chief Clinical Officer (an infectious disease expert), among others, who convened twice per day



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for several months to discuss the evolving clinical recommendations, as well as to prepare

strategies to prevent challenges related to staffing and supplies.

       10.     To prepare for COVID-19, Wellpath providers and MDOC staff have been offered

education, guidance, and support, including through weekly webinars, by Wellpath’s Chief

Clinical Officer and infectious disease experts, and have received education and training updates

by individual site Health Services Administrators regarding, among other things, how COVID-19

is transmitted, how to help prevent the spread of COVID-19, the symptoms of COVID-19, and

how to respond if someone is experiencing symptoms. Medical providers have also received

ongoing regularly occurring educational updates, tools, and guidance from the Chief Clinical

Officer, Regional Medical Director, and Wellpath corporate operations and continue to receive

training in the use of screening tools to detect, target, and isolate the disease to help prevent its

spread; methods for collecting a specimen for testing purposes; and the management and care of

patients suspected or confirmed to have the disease, among other things.

       11.     In further preparation, medical staff members have been cross-trained to other

positions and critical functions to medical care have been identified. These measures are designed

to ensure adequate staffing needs and operating capacity in the event of staffing shortages and

include contingency plans. Personnel who are at increased risk for COVID-19 complications have

been identified with precautions and accommodations made, and staff in the facilities have been

informed and advised how to immediately report their own possible COVID-19 illness.

       12.     Additionally, Wellpath providers continue to monitor updated guidance from the

CDC, Maine CDC, World Health Organization (“WHO”), and local public health partners.




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        13.     In addition to these measures, medical providers and MDOC staff have been fit-

tested for N95 masks for respiratory protection in the event it is needed within the scope of their

responsibilities.

        14.     MDOC and Wellpath have worked together to inventory and stock recommended

hygiene supplies, cleaning supplies, personal protective equipment (“PPE”), and medical supplies,

to ensure that those supplies are on hand and available. Wellpath has a sufficient supply of PPE to

meet the anticipated needs of all MDOC facilities.

        15.     Further, a plan has been developed to rapidly restock PPE under crisis conditions.

This has also involved making contingency plans in the event of PPE shortages during the COVID-

19 pandemic, monitoring supply chains for potential disruption or impact, and following CDC

guidance on optimizing PPE supplies.

        16.     To prepare for COVID-19, Wellpath and MDOC have worked to identify and

develop plans for the movement, housing, and care of infected and non-infected individuals. These

plans include preparing separate intake and housing areas for suspected and ill patients, including

a quarantine unit and a medical isolation area at each facility.

Prevention:

        17.     Wellpath and MDOC have developed and implemented measures to prevent the

introduction of COVID-19 from the community into the correctional facilities and to reduce its

transmission inside a facility by reinforcing good hygiene practices among patients, staff, and

visitors, intensifying cleaning and disinfecting practices, and implementing social distancing

strategies.

        18.     All persons in the facility, including staff and patients, are encouraged and

instructed to practice good hand hygiene and cough etiquette; to avoid touching their eyes, nose,



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or mouth without cleaning their hands first; to avoid sharing eating utensils, dishes, and cups; and

to avoid all non-essential physical contact.

       19.     Similarly, educational information has been provided to patients regarding how

COVID-19 is transmitted, how to help prevent its spread (including hygiene and cough etiquette

instructions), the symptoms of the disease, and what to do if a person is experiencing any

symptoms of COVID-19. This has included signage in each of the facilities that is understandable

for non-English speaking persons and those with low literacy, and necessary accommodations for

those with cognitive or intellectual disabilities and those who are deaf, blind, or low-vision.

       20.     In addition, social distancing has been taught, encouraged, and practiced among

staff and patients in the facilities, to the maximum extent possible.

       21.     Other measures in place include ensuring that all patients have access to soap and

water to allow for frequent hand washing, as well as alcohol-based hand sanitizer that contains

alcohol levels recommended by the CDC.

       22.     There have also been operational changes in the way in which healthcare services

are delivered and provided to patients in the state’s correctional facilities.

       23.     First, the procedures and practices relating to the administration and delivery of

medication have been altered to better protect our medical providers and patients. This includes

eliminating administration and delivery methods that involve patients congregating in waiting

areas or closely together in large lines, and instead delivering medication to fewer patients at one

time more locally in the housing units. Specifically, social distancing practices are followed where

medication is administered and delivered to patients. There are still medication lines in some

facilities with MDOC staff present who instruct patients on proper distancing while waiting in line.




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       24.     Further, the use of “Keep on Person” or “KOP” medication protocols have been

reviewed and maximized to allow additional patients to be provided with and store their

medications for self-administration in accordance with medical instructions and when appropriate,

patients are provided with more doses of medication to last for a longer time period.

       25.     In addition, all patients and staff have been offered the seasonal influenza vaccine,

as preventing influenza cases may help to speed the detection of COVID-19 cases and reduce

pressure on healthcare resources in the facilities.

       26.     In addition to caring for patients suspected or confirmed as being infected by

COVID-19, Wellpath providers utilize standard precautions in caring for all patients, and these

precautions assume that every person is potentially infected or colonized with a pathogen that

could be transmitted in the healthcare setting.

       27.     Providers practice hand hygiene recommended by the CDC before and after all

patient contact, contact with potentially infectious material, and before putting on and after

removing PPE.

       28.     During an examination, depending on the level of care and nature of the visit,

healthcare providers are ensuring the use of appropriate PPE for both the medical provider and the

patient. This includes the use of masks, face shields and gloves by providers when examining

patients, and the use of masks by patients during the examination.

       29.     Additionally, education and communication with patients concerning COVID-19

has continued during medical visits, including discussions about changes to their daily routine and

how they can contribute to risk reduction.




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       30.     In order to encourage patients to voluntarily seek treatment of potential COVID-

related symptoms, medical co-pays have been waived for patients seeking medical evaluation for

respiratory symptoms and for those feeling sick and needing medical attention.

       31.     Between patient visits or examinations, medical equipment and surface areas are

cleaned and disinfected to ensure the safety of patients and staff. Staff are also following guidelines

recommended by the CDC for donning and doffing of PPE to ensure proper disposal and infection

control procedures to reduce risk of transmission.

       32.     Further, where possible in some medical clinic areas of the facilities we are

scheduling and performing limited telehealth visit with patients. Telehealth visits permit the

providers to interact with the patients in real-time and provide medical orders. Currently we

perform telehealth visits for both medical and psychiatric providers.

       33.     A patient seeking medical care or other healthcare services may submit a “Sick Call

Slip,” which is screened by medical nursing staff for initial response in addressing needs or based

on medical concern submitted to Wellpath providers for review and response. In conjunction with

MDOC, many patients are now able to use their tablets to request mental health services without

the exchange of paper slips.

       34.     Patients needing chronic care examination visits are continuing to receive them,

with additional precautions being taken in the clinic areas. Such precautions include the use of

appropriate PPE being worn and limiting physical examinations generally to focus on reported

symptoms and chronic care concerns.

       35.     Necessary medical care, including dialysis and chemotherapy, for patients has also

continued, including any necessary off-site transport for medical care with appropriate infection




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control procedures and screening protocols in place before and after transport and upon return to

the facility.

        36.      For any new patients or admissions into MDOC’s custody (before they were

stopped in early April 2020), new intake procedures were implemented in response to COVID-19,

including screening measures and temperature checks. Further, any new intakes or admissions to

a state correctional facility are placed in a quarantine unit for fourteen days (separate from other

individuals who are quarantined) and monitored medically before entry into a housing unit with

other individuals. If the individual has or develops symptoms of COVID-19, the individual is

placed in medical isolation with continued monitoring by medical staff and testing for COVID-19.

Providers continue to provide care for and treat the individual unless the individual requires a

hospital level of care, in which case the individual will be transported to the hospital, as explained

further below.

        37.      Any person seeking to physically enter a state correctional facility, including

MDOC staff, medical staff, and any allowed visitors, must comply with and pass enhanced

screening protocols and temperature checks.

        38.      All non-essential travel between correctional facilities by providers has been

limited.

        39.      Each correctional facility has developed and implemented a quarantine unit and a

separate isolation unit, as described further below. In addition, at the state’s largest correctional

facility, the Maine State Prison, a second infirmary has been developed and implemented in the

quarantine unit that is staffed with twenty-four-hour nursing coverage when there are patients

admitted to this area. Currently we do not have any patients admitted.




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       40.     Wellpath and MDOC have also worked to ensure that the local hospitals in the

community of each of the correctional facilities have been contacted to establish an appropriate

response plan in the event a patient at a correctional facility were to need a hospital level of care.

       41.     In terms of any patients needing emergency care, patients continue to be transported

to community hospitals for that care. Before and after transport, and upon return to the facility,

infection control procedures, including the donning of appropriate PPE and disinfection of all

affected areas, are observed. Upon return to the facility from the hospital, the patient is placed in

a quarantine unit for 14 days, with daily temperature checks and nursing visits. If a patient in such

a position were to develop any signs or symptoms of COVID-19, the patient would be tested for

COVID-19.

   Management Measures:

       42.     All patients that present to a Wellpath provider with COVID-19 symptoms are

tested for COVID-19.

       43.     When there is a suspected COVID-19 case inside an MDOC facility, that individual

is placed under medical isolation, his or her close contacts are quarantined, and the individual is

monitored and treated under the direction of our medical providers.

       44.     A patient under medical isolation is housed separately with his or her own

bathroom, in a single cell with solid walls (not bars) and a solid door that closes fully, as

recommended by the U.S. CDC. The individual’s movements are restricted to the medical isolation

space, and he or she is provided with clean masks as needed. Medical care is provided inside the

medical isolation space, as are meals.

       45.     All patients who are close contacts of a confirmed or suspected COVID-19 case are

placed under quarantine for fourteen days. Similarly, patients under quarantine are placed



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separately in a single cell with solid walls (not bars) and solid doors that close fully, with access

to their own bathroom. Their movement is restricted to the quarantine space and meals are provided

inside that space. Medical care, if needed, is provided in that area, and if the individual develops

any symptoms, they are tested for COVID-19.

       46.       To date, there have been no severe cases of COVID-19 in MDOC facilities. Should

a patient present with a severe case of COVID-19, the patient will be transported to the nearest

local hospital emergency department for treatment. The process would include us contacting the

hospital first to inform them that we are requesting transport.

       47.       As of the date of this affidavit, there are four positive COVID-19 cases in the state’s

correctional system, all isolated at the Maine Correctional Center (“MCC”) in Windham, Maine.

These individuals while in isolation are being monitored daily with vital signs being taken three

times per day.

       48.       On May 17, 2020, a male patient in his 20s at MCC began showing symptoms of

COVID-19 and he was promptly moved to medical isolation. Medical personnel monitored and

treated this patient, in addition to monitoring that patient’s housing unit (close contacts). He was

immediately tested for COVID-19, and his result returned as positive on May 19, 2020. He has not

required a hospital level of care, and providers are managing and treating his symptoms.

       49.       On May 22, 2020, a second patient at MCC tested positive for COVID-19. This

patient was immediately moved to a medical isolation unit, he was tested as part of the MCC-wide

testing plan, and he has not required hospitalization.

       50.       On May 23, 2020, two additional patients at MCC tested positive for COVID-19.

These patients were tested as part of the universal testing campaign at MCC, following the first

positive test there. Both patients were immediately moved to a medical isolation unit.



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        51.     MDOC and Wellpath continue to monitor for COVID-19 at MCC and the state’s

correctional facilities.

        52.     All patients being released from incarceration into the community are screened for

COVID-19 symptoms. Wellpath and MDOC have developed a plan for discharging released

inmates with known or suspected COVID-19, including communication with community

resources and local public health officials.

        53.     Due in large part to MDOC, Maine CDC and Wellpath’s response planning and

overall preparedness to COVID-19, providers in the state facilities continue to have sufficient

personal protective equipment to continue providing medical care safely to patients at the facilities.

        54.     In summary, Wellpath and MDOC continue to develop and implement a

collaborative and aggressive response to COVID-19, rooted in medically-based evidence and

recommendations provided by the Maine and U.S. CDC, to target, isolate, and mitigate the effects

of COVID-19, in order to protect the health and safety of all patients and staff in the state’s

correctional facilities.

        I declare under penalty of perjury that the foregoing is true and correct.


    Signed under the penalties of perjury, this 27th day of May, 2020.


                                                               /s/ John Newby
                                                              John Newby, DPM




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